 Case 12-40944       Doc 315      Filed 05/17/13 Entered 05/17/13 14:36:40            Desc Main
                                   Document     Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSUCHUSETTS

__________________________________________
                                          )
In re:                                    )                  Case No. 12-40944 (MSH)
                                          )
SOUTHERN SKY AIR & TOURS, LLC             )                  Chapter 7
D/B/A DIRECT AIR,                         )
                                          )
                  Debtor.                 )
__________________________________________)

               MOTION BY THE UNITED STATES TO APPEAR
       TELEPHONICALLY AT THE HEARING SCHEDULED FOR JUNE 5, 2013

TO THE HONORABLE COURT:

       Andrea Horowitz Handel, Trial Attorney for the United States Department of Justice,

Civil Division, on behalf of the United States, respectfully states and prays as follows:

       1.      On March 4, 2013, the Chapter 7 Trustee filed a motion to approve the proposed

form and scope of notice and stipulation compromising and settling certain claims to funds held

by Valley National Bank (Docket No. 264).

       2.      The hearing to approve the stipulation is scheduled for June 5, 2013 at 10:00 a.m.

       3.      My office is located in Washington, D.C. and I respectfully request permission to

       appear by telephone at the hearing.

       WHEREFORE, Andrea Horowitz Handel respectfully requests that the Court enter an

order allowing her to appear telephonically at the hearing scheduled for June 5, 2013 at 10:00

a.m. and grant such further relief as deemed necessary.
 Case 12-40944       Doc 315     Filed 05/17/13 Entered 05/17/13 14:36:40            Desc Main
                                  Document     Page 2 of 2



May 17, 2013                                       Respectfully submitted,

                                                   STUART F. DELERY
                                                   Acting Assistant Attorney General

                                                   Christopher R. Donato
                                                   Assistant United States Attorney
                                                   BBO #628907
                                                   John Joseph Moakley Courthouse
                                                   1 Courthouse Way, Suite 9200
                                                   Boston, MA 02210
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                                                   /s/Andrea Horowitz Handel
                                                   J. CHRISTOPHER KOHN
                                                   TRACY J. WHITAKER
                                                   ANDREA HOROWITZ HANDEL
                                                   Civil Division
                                                   Department of Justice
                                                   Post Office Box 875
                                                   Ben Franklin Station
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                                                   Telephone: (202) 307-0358
                                                   Facsimile: (202) 514-9163
                                                   Email: andrea.handel@usdoj.gov

                                                   Attorneys for the United States



                                     Certificate of Service

       I hereby certify that a copy of the foregoing document has been served by electronic mail

on all parties on the Court’s ECF system this 17th day of May 2013.



                                                   /s/ Andrea Horowitz Handel
                                                   Andrea Horowitz Handel




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